This is an action to determine the rights of the parties to certain money derived from the sale of land. The facts are stated in full in the judgment, which is as follows: *Page 762 
This cause coming on to be heard, before W. P. Stacy, judge presiding, at January Term, 1917, of Pitt Superior Court, and being heard on the following agreed facts:
1. That W. L. Anderson married Laura Smith, and as the result of said marriage four children were born, to wit, Louis Anderson, Ella Anderson, Georgia Anderson, and Lena Anderson.
2. That after the birth of said children the said W. L. Anderson died, and at the time of his death owned a tract of land, known as "The 285Acre Tract," leaving surviving him the above named four children and the widow, Laura Anderson.
3. That after the death of W. L. Anderson, his widow, Laura Anderson, married W. A. Savage, and to them were born Juanita Savage, the petitioner in this case.
4. That after the death of said W. L. Anderson, as above named, the said Ella Anderson, one of the survivors of W. L. Anderson, married one Tucker, and died intestate, leaving no children or child or issue of such.
5. That the children now surviving W. L. Anderson, to wit, Louis Anderson, Lena Anderson Forbes, and Georgia Anderson Gilbert, have in this special proceeding (Louis Anderson being a non compos mentis acting through his next friend, C. C. Pierce) effected a sale of the said land described in the petition; that W. A. Savage in behalf of his ward, Juanita Savage, did not oppose the sale of the same, but asks that one-sixteenth of the funds arising from the sale of the said land be held for her, to be paid to her if the court shall decide that she is entitled to the same, but if the court should decide that she is not entitled to it as heir at law of Ella Anderson Tucker, then that it shall be turned over to the original petitioners herein.
It is now, therefore, ordered, adjudged and decreed that Juanita Savage is not an heir at law of Ella Anderson Tucker; that she (707)   has no interest in the tract of land described in the pleadings, or fund arising from the sale thereof; that said one-sixteenth being held to abide the claim of Juanita Savage be delivered to the said Louis Anderson, Georgia Anderson Gilbert, Lena Anderson Forbes, heirs at law of Ella Anderson Tucker. That Juanita Savage take nothing by this action; and that original petitioners recover their costs of the said guardian, to be taxed by the clerk of this court.
                                             W. P. STACY,  Judge Superior Court, Presiding.
The defendant excepted and appealed.
The judgment is affirmed on the authority of Noble v. Williams,167 N.C. 112.
Affirmed.
Cited: Ex Parte Barefoot, 201 N.C. 397.